






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00584-CV







Lenard Boyce, Fisher, Appellant




v.




County of Williamson, Texas, on behalf of itself and The City of Florence, Texas; 
and Florence Independent School District, Appellees







FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 05-087-T368, HONORABLE BURT CARNES, JUDGE PRESIDING







M E M O R A N D U M   O P I N I O N



	Appellant Lenard Boyce, Fisher (1) brings this pro se appeal (2) from a judgment assessing
delinquent property taxes against him.  Fisher appeals in six issues, contending that he was denied
due process by the trial court and that the County of Williamson ("County"), the City of Florence
("City"), and Florence Independent School District ("School District") lack jurisdiction to tax
Fisher's real property because he is a "natural man." (3)  We affirm the trial court's judgment.

	The County sued Fisher on behalf of itself and the City for delinquent property taxes. 
The School District intervened also seeking delinquent property taxes.  In a non-jury trial, the County
and the School District presented evidence demonstrating that, for the years 2002 through 2004,
Fisher owed $822.13 in delinquent taxes, penalties, and interest to the County, $852.46 to the City,
and $3,955.52 to the School District, for a total of $5,630.  The trial court rendered judgment against
Fisher in favor of the County, City, and School District for the amount due, court costs, and a $100
title research fee.  The trial court also ordered foreclosure of the statutory tax liens held by the
County, City, and School District on the real property for the amount of delinquent property taxes,
accrued penalties, interest, costs, and expenses.

	In his first and second issues, Fisher contends that the trial court denied him due
process of law by initially calling the case "State of Texas v. Lenard Boyce Fisher" and by twice
asking Fisher what he meant by "special appearance."  Fisher contends that the trial court was trying
to confuse him and make him uncomfortable.  The Texas Constitution provides that no citizen of
Texas may be deprived of life, liberty, property, privileges or immunities except by due course of
law.  Tex. Const. art. 1, § 19.  We find no deprivation of due process here.  Although the court
initially called the case by the incorrect name, Fisher immediately answered, was acknowledged by
the court, and stated his case.  Although the trial court twice asked Fisher, "What do you mean?"
after Fisher stated that he was appearing by special appearance, the court was asking Fisher to
explain, which he did at length.  We find no deprivation of due process, and Fisher does not cite us
to any authority holding otherwise.  Fisher's first and second issues are overruled.

	In his third and fourth issues, Fisher contends that he submitted to the court as
evidence two affidavits and one copy of a freedom of information request, but that the documents
were not entered into evidence by the court.  Fisher contends that this denied him due process of law. 
We disagree.  The record reflects that the trial court took judicial notice of the documents, as
requested by Fisher, and the three documents were included in the clerk's record.  Fisher's third and
fourth issues are overruled.

	In his fifth issue, Fisher contends that the trial court denied him due process by not
hearing his argument before overruling his objection to the admission of one of plaintiff's exhibits.
The record, however, reflects otherwise.  Fisher objected to the exhibit, an affidavit executed by the
County's tax assessor-collector with an attached compilation of delinquent taxes owed by Fisher to
the County and City, stating, "I do have an objection to this.  That is not me."  The trial court then
overruled the objection.  The objection was a reference to an earlier argument made by Fisher, that
he was a "natural person" and, therefore, not a legal entity.  Because Fisher objected and stated his
grounds before being overruled by the trial court, his claim lacks merit.  Fisher's fifth issue is
overruled.

	In his sixth issue, Fisher contends, as he did before the trial court, that the County and
School District lack jurisdiction to tax his real property because he is a "natural man" who does not
own property "in this state," as the term is used in the tax code.  We disagree.  The Texas
Constitution provides that all real property, whether owned by a natural person or corporation, shall
be taxed.  Tex. Const. art. 8, § 1(b).  The tax code states that real property is taxable by a taxing unit
if the real property is located within the boundaries of the taxing unit on the first day of January of
the tax year.  Tex. Tax Code Ann. § 21.01 (West 2001).  A "taxing unit" is defined as a county, city,
or school district that is authorized to impose and is imposing ad valorem taxes on property.  Id.
§&nbsp;1.04(12) (West Supp. 2005).  The County introduced into evidence a warranty deed reflecting that
in 1983 Fisher became owner of the property, described as "a portion of lots 2 and 6, block 30, of
the revised map of the town of Florence, Williamson County, Texas."  Fisher's claim that his
property is not "in the state" relies on a strained interpretation of the tax code and is without merit.

	The County, City, and School District had jurisdiction to levy and collect ad valorem
taxes on the real property owned by Fisher.  The Texas Constitution allows counties to levy property
taxes and empowers the legislature to enact laws for the assessment and collection of property taxes
by school districts.  Tex. Const. art. 8, § 9; art. 7, § 3(e).  The Texas Education Code allows a school
district to levy and collect property taxes.  Tex. Educ. Code Ann. § 11.152 (West 2006).  Cities are
authorized to levy property taxes by the Texas Constitution, the tax code, and the local government
code.  Tex. Const. art. 8, § 9(a); art. 11, §§ 4, 5; Tex. Tax Code Ann. § 302.001 (West 2002); Tex.
Loc. Gov't Code Ann. § 51.051 (West 1999). 

	Ad valorem taxes are a levy against property, not persons.  The tax code provides that
a tax bill should identify the property subject to the tax and state the taxable value of the property. 
Tex. Tax Code Ann. § 31.01(c) (West Supp. 2005).  The tax bill is mailed to the person in whose
name the property is listed on the tax roll.  Id. § 31.01(a).  On January 1 of each year a tax lien
attaches to property to secure payment of all ad valorem taxes, penalties, and interest ultimately
imposed for the year on the property.  Id. § 32.01(a) (West 2002).  A person is obligated to pay ad
valorem taxes levied on property only if the person is the owner of the property on the first day of
January of the tax year for which the tax is imposed.  Id. § 32.07(a) (West Supp. 2005).  The County
and the School District introduced into evidence certified copies of delinquent tax records for
Fisher's property.  Fisher's claim that he is not correctly identified by documents that print his name
in all capital letters because the use of capital letters is proper only in reference to corporate entities
is an incorrect statement of law and without merit.

	Pursuant to the tax code, the County, City, and School District made a prima facie
case for recovery of delinquent property taxes.  Id. § 33.47(a) (West 2002).  The County introduced
into evidence a copy of a warranty deed reflecting that Fisher became owner of the property in 1983
and a compilation of the delinquent taxes due to the County and the City.  The School District
introduced into evidence a certified copy of the tax records for the School District.  Fisher offered
no evidence in rebuttal.  

	Fisher further maintains that the actions of the taxing authorities create "a state of
involuntary servitude to the taxing units" and constitute a taking.  See U.S. Const. amends. V, XIII. 
As a rule, a claim, including a constitutional claim, must have been asserted in the trial court to be
raised on appeal.  See Tex. R. App. P. 33.1(a); In re Commitment of Fisher, 164 S.W.3d 637, 656
(Tex. 2005).  Because Fisher did not raise these arguments at the trial court we will not address them
here.  We overrule Fisher's sixth issue.


CONCLUSION

	We overrule Fisher's issues on appeal and affirm the trial court's judgment.



					__________________________________________

					Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Pemberton

Affirmed

Filed:   June 15, 2006
1. 	The punctuation in appellant's name is intentional, reflecting the way he spells it.
2. 	We hold pro se litigants to the same standards as licensed attorneys and require them to
comply with applicable laws and rules of procedure.  Wheeler v. Green, 157 S.W.3d 439, 444 (Tex.
2005); Mansfield State Bank v. Cohn, 573 S.W.2d 181, 184-85 (Tex. 1978).  
3. 	Fisher has appeared in this Court before to appeal a judgment for delinquent property taxes
on this same property contending that (1) the taxing authorities had not "defined the Monies owed"
because currency in the form of federal reserve notes is unconstitutional and (2) property taxes are
an indirect tax on an obligation of the federal government.  See Fisher v. County of Williamson, No.
03-01-00129-CV, 2002 Tex. App. LEXIS 340 (Tex. App.--Austin 2002, no pet.).


